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                In re Keurig Green Mountain Single-Serve Coffee Antitrust Litigation, Civ. No. 14-2542 (VSB)
 Exhibit A to Plaintiffs’ Letter Request for a Trial Date – Pending Daubert, Class Certification, and Summary Judgment Motions


Filing Date                                          Motion & ECF Number

                                                            Daubert

1-15-2021     Plaintiffs’ Motion to Exclude the Report and Testimony of Proposed Expert Hon. Arthur J. Gajarsa (ECF No. 1220)
6-16-2021     Keurig’s Motion to Exclude the Expert Report and Testimony of DPP Expert Gary L. French, Ph.D. (ECF No. 1406)
8-18-2021     Keurig’s Motion to Exclude the Expert Reports and Testimony of Treehouse Expert Mohan Rao, Ph.D. (ECF No.
              1439)
8-18-2021     Keurig’s Motion to Exclude the Expert Reports and Testimony of Treehouse Expert Hal Poret (ECF No. 1442)
8-18-2021     Keurig’s Motion to Exclude the Expert Reports and Testimony of Treehouse Expert Sarah Butler (ECF No. 1445)
8-18-2021     Keurig’s Motion to Exclude Certain Opinions in the Expert Reports and Testimony of Hon. James Ware and Hon.
              Randall Rader (ECF No. 1449)
8-18-2021     Keurig’s Motion to Exclude the Expert Reports and Testimony of McLane Expert Phillip M. Johnson, Ph.D. (ECF
              No. 1452)
8-18-2021     Keurig’s Motion to Exclude the Expert Reports and Testimony of JBR Expert Gareth Macartney, Ph.D. (ECF No.
              1456)
8-18-2021     Keurig’s Motion to Exclude Opinions in the Expert Reports and Testimony of Treehouse Expert Lauren J. Stiroh,
              Ph.D. (ECF No. 1460)
8-18-2021     Keurig’s Motion to Exclude the Expert Reports and Testimony of Treehouse Expert Dr. David Sibley (ECF No. 1464)
8-18-2021     Plaintiffs’ Motion to Exclude Certain Opinions of Keurig Expert Keith R. Ugone, Ph.D. (ECF No. 1470)
8-18-2021     Plaintiffs’ Motion to Exclude the Proposed Testimony of Kevin Murphy, Ph.D. (ECF No. 1474)
8-18-2021     Plaintiff JBR’s Motion to Exclude the Proposed Testimony of Mark Wood (ECF No. 1478)
8-18-2021     Plaintiff JBR’s Motion to Exclude the Proposed Testimony of Marc A. Hillmyer (ECF No. 1484)
                                                        Class Certification

5-24-2021     Direct Purchaser Plaintiffs’ Notice of Motion for Class Certification and Appointment of Class Representatives and
              Class Counsel (ECF No. 1359)
                                                       Summary Judgment

8-25-2021     Plaintiffs’ Motion for Summary Judgment (ECF No. 1489)
8-25-2021     Keurig’s Motion for Summary Judgment (ECF No. 1493)
